               IN THE DISTRICT COURT OF THE UNITED STATES
              FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                           ASHEVILLE DIVISION
                                 1:17 cr 80


UNITED STATES OF AMERICA,                     )
                                              )
Vs.                                           )              ORDER
                                              )
PHILLIP SAMPSON ARMACHAIN, SR.,               )
                                              )
                  Defendant.                  )
____________________________________          )


        THIS MATTER has come before the undersigned pursuant to a Motion for

Detention Hearing (#19) and (#23) filed by counsel for Defendant.                  The

undersigned scheduled a detention hearing in this matter for the convenience of

Defendant and his attorney and conducted a detention hearing on August 18, 2017.

Therefore, the Motion for Detention Hearing is allowed.

                                    ORDER

        IT IS, THEREFORE, ORDERED that the Motion for Detention Hearing

(#19) and (#23) are ALLOWED. A detention hearing was conducted by this Court

on August 18, 2017 and an Order concerning the hearing is being entered herewith.


                                   Signed: August 25, 2017




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